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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 ) Chapter 11
                                                           )
    OFF LEASE ONLY LLC, et al.,1                           ) Case No. 23-11388 (CTG)
                                                           )
                              Debtors.                     ) (Joint Administration Requested)
                                                           )

   APPLICATION OF THE DEBTORS FOR ENTRY OF ORDER AUTHORIZING
RETENTION AND APPOINTMENT OF STRETTO, INC. AS CLAIMS AND NOTICING
                             AGENT


             Off Lease Only LLC, Off Lease Only Parent LLC, and Colo Real Estate Holdings LLC,

the above-captioned debtors and debtors-in-possession (collectively, the “Debtors”) seek entry of

an order, substantially in the form attached hereto as Exhibit A (the “Proposed Order”), appointing

Stretto, Inc. (“Stretto”) as claims and noticing agent (“Claims and Noticing Agent”) in the Debtors’

chapter 11 cases effective as of the Petition Date. In support of this application, the Debtors submit

the declaration of Sheryl Betance (the “Betance Declaration”), attached hereto as Exhibit B.2

                                             Jurisdiction and Venue

             1.    The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate Holdings
      LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress Ave.,
      Palm Springs, FL, 33406.
2
      A detailed description of the Debtors and their business, and the facts and circumstances supporting the Debtors’
      chapter 11 cases, are set forth in greater detail in the Declaration of Leland Wilson in Support of Chapter 11
      Petitions and First Day Motions (the “First Day Declaration”), filed contemporaneously herewith the Debtors’
      voluntary petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), on
      [_], 2023 (the “Petition Date”). Capitalized terms used but not otherwise defined in this motion shall have the
      meanings given to them in the First Day Declaration.



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February 29, 2012. The Debtors confirm their consent, pursuant to rule 7008 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 9013-1(f) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), to the entry of a final order by the Court in connection with this

application to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

        2.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.       The bases for the relief requested herein are section 156(c) of title 28 of the United

States Code, section 105(a) of the Bankruptcy Code, Bankruptcy Local Rules 2002-1(f) and 9013-

1(m), and the Court’s Protocol for the Employment of Claims and Noticing Agents Under

28 U.S.C. § 156(c), instituted by the Office of the Clerk of the Bankruptcy Court (the “Clerk”) on

February 1, 2012 (the “Claims Agent Protocol”).

                                             Background

        1.        On the date hereof (the “Petition Date”), the Debtors commenced these chapter 11

cases by filing petitions for relief pursuant to chapter 11 of the Bankruptcy Code (the “Chapter 11

Cases”).

        2.        The Debtors continue to manage and operate their business as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        3.        As of the date hereof, no trustee, examiner, or official committee has been

appointed in the Chapter 11 Cases.

        4.        A detailed description of the Debtors, including their business operations, their

corporate and capital structure, the events leading to the filing of these Chapter 11 Cases, and the




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facts and circumstances supporting this Application, are set forth in greater detail in the First Day

Declaration and incorporated by reference herein.

                                           Relief Requested

        4.       The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A, appointing Stretto as claims and noticing agent in the Debtors’ chapter 11 cases

effective as of the Petition Date.

                                            Basis for Relief

        5.       The Debtors request entry of an order appointing Stretto as the Claims and Noticing

Agent for the Debtors and their chapter 11 cases, including assuming full responsibility for the

distribution of notices and the maintenance, processing, and docketing of proofs of claim filed in

the Debtors’ chapter 11 cases. The Debtors’ selection of Stretto to act as the Claims and Noticing

Agent satisfies the Court’s Protocol for the Employment of Claims and Noticing Agents Under 28

U.S.C. § 156(c), in that the Debtors obtained and reviewed engagement proposals from at least

two other court-approved claims and noticing agents to ensure selection through a competitive

process. Moreover, the Debtors submit, based on all engagement proposals obtained and reviewed,

that Stretto’s rates are competitive and reasonable given Stretto’s quality of services and expertise.

The terms of Stretto’s retention are set forth in the Engagement Agreement attached as Exhibit 1

to the Proposed Order (the “Engagement Agreement”).

        6.       Although the Debtors have not yet filed their schedules of assets and liabilities, they

anticipate that there will be thousands of entities to be noticed. Local Rule 2002-1(f) provides that

“[i]n all cases with more than 200 creditors or parties in interest listed on the creditor matrix, unless

the Court orders otherwise, the debtor shall file [a] motion [to retain a claims and noticing agent]

on the first day of the case or within seven (7) days thereafter.” In view of the number of

anticipated claimants and the complexity of the Debtors’ business, the Debtors submit that the


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appointment of a claims and noticing agent is required by Local Rule 2002-1(f) and is otherwise

in the best interests of both the Debtors’ estates and their creditors.

        7.       Bankruptcy Rule 2002 generally regulates what notices must be given to creditors

and other parties in interest in bankruptcy cases. Fed. R. Bankr. P. 2002(f). Under Bankruptcy

Rule 2002(f), the Court may direct that some person other than the Clerk give notice of the various

matters described below. Moreover, section 156(c) of title 28 of the United States Code, which

governs the staffing and expenses of a bankruptcy court, authorizes the Court to use “facilities” or

“services” other than the Clerk for administration of bankruptcy cases. 28 U.S.C. § 156(c).

Specifically, the statute states, in relevant part:

                 Any court may utilize facilities or services, either on or off the
                 court’s premises, which pertain to the provision of notices, dockets,
                 calendars and other administrative information to parties in cases
                 filed under the provisions of title 11, United States Code, where the
                 costs of such facilities or services are paid for out of the assets of the
                 estate and are not charged to the United States. The utilization of
                 such facilities or services shall be subject to such conditions and
                 limitations as the pertinent circuit council may prescribe.

28 U.S.C. § 156(c).

        8.       In addition, Local Rule 2002-1(f) provides:

                 Upon motion of the debtor or trustee, at any time without notice or
                 hearing, the Court may authorize the retention of a notice and/or
                 claims clerk under 28 U.S.C. § 156(c). In all cases with more than
                 200 creditors or parties in interest listed on the creditor matrix,
                 unless the Court orders otherwise, the debtor shall file such motion
                 on the first day of the case or within seven days thereafter. The
                 notice and/or claims clerk shall comply with the Protocol for the
                 Employment of Claims and Noticing Agents under
                 28 U.S.C. § 156(c) (which can be found on the Court’s website) and
                 shall perform the [claims and noticing services].

Del. Bankr. L.R. 2002-1(f). Accordingly, Bankruptcy Rule 2002, Local Rule 2002-1(f), and

section 156(c) of title 28 of the United States Code empower the Court to utilize outside agents




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and facilities for notice and claims purposes, provided that the Debtors’ estates bear the cost of

such services.

        9.       For all of the foregoing reasons, the Debtors believe that the appointment of Stretto

as the Claims and Noticing Agent in these chapter 11 cases is necessary and in the best interests

of the Debtors, their estates and creditors, and all parties in interest. Furthermore, the Debtors

submit that the fees and expenses that would be incurred by Stretto under the proposed engagement

would be administrative in nature and, therefore, should not be subject to standard fee application

procedures of professionals.

        10.      By separate application, the Debtors intend to seek authorization to retain and

employ Stretto as the administrative agent in these chapter 11 cases, pursuant to section 327(a) of

the Bankruptcy Code, because the administration of the chapter 11 cases will require Stretto to

perform duties outside the scope of 28 U.S.C. § 156(c).

                                       Stretto’s Qualifications

        11.      Stretto is a chapter 11 administrator comprised of leading industry professionals

with significant experience in both the legal and administrative aspects of large, complex chapter

11 cases. Stretto’s professionals have experience in noticing, claims administration, solicitation,

balloting, and facilitating other administrative aspects of chapter 11 cases and experience in

matters of this size and complexity. Stretto’s professionals have acted as official claims and

noticing agent in many large bankruptcy cases in this district and in other districts nationwide.

Stretto has developed efficient and cost-effective methods to handle the voluminous mailings

associated with the noticing and claims processing portions of chapter 11 cases to ensure the

efficient, orderly and fair treatment of creditors, equity security holders, and all parties in interest.

Stretto’s active and former cases include: In re iMedia Brands, Inc., Case No. 23-10852 (KBO)




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(Bankr. D. Del. July 3, 2023); In re Peer Street, Inc., Case No. 23-10815 (LSS) (Bankr. D. Del.

June 28, 2023); In re Lunya Co., Case No. 23-10783 (BLS) (Bankr D. Del. June 22, 2023); In re

Internap Holding LLC, Case No. 23-10529 (CTG) (Bankr. D. Del. May 2, 2023); In re Pear

Therapeutics, Inc., Case No. 23-10429 (TMH) (Bankr. D. Del. Apr. 12, 2023); In re AmeriMark

Interactive, LLC, Case No. 23-10438 (TMH) (Bankr D. Del. Apr. 13, 2023); In re Codiak

BioSciences, Inc., Case No. 23-10350 (MFW) (Bankr. D. Del. Mar. 29, 2023); In re Ryze

Renewables II, LLC, Case No. 23-10289 (BLS) (Bankr. D. Del. Mar. 11, 2023); In re Allegiance

Coal USA Ltd., Case No. 23-10234 (CTG) (Bankr. D. Del. Mar. 9, 2023); and In re AD1 Urban

Palm Bay, LLC, Case No. 23-10074 (KBO) (Bankr. D. Del. Mar. 27, 2023).

          12.    By appointing Stretto as the Claims and Noticing Agent in these chapter 11 cases,

the distribution of notices and the processing of claims will be expedited, and the Clerk will be

relieved of the administrative burden of processing what may be an overwhelming number of

claims.

                                           Services to be Provided

          13.    This application pertains only to the work to be performed by Stretto under the

Clerk’s delegation of duties permitted by 28 U.S.C. § 156(c) and Local Rule 2002-1(f). Any work

to be performed by Stretto outside of this scope is not covered by this application or by any order

granting approval hereof. Specifically, Stretto will perform the following tasks, as necessary, in

its role as Claims and Noticing Agent, as well as all quality control relating thereto:

                 (a)         Prepare and serve required notices and documents in these chapter 11 cases
                             in accordance with the Bankruptcy Code and the Bankruptcy Rules in the
                             form and manner directed by the Debtors and/or the Court, including
                             (i) notice of the commencement of these chapter 11 cases and the initial
                             meeting of creditors under Bankruptcy Code § 341(a), (ii) notice of any
                             claims bar date, (iii) notices of transfers of claims, (iv) notices of objections
                             to claims and objections to transfers of claims, (v) notices of any hearings
                             on a disclosure statement and confirmation of the Debtors’ plan or plans of



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                             reorganization, including under Bankruptcy Rule 3017(d), (vi) notice of the
                             effective date of any plan, and (vii) all other notices, orders, pleadings,
                             publications and other documents as the Debtors or Court may deem
                             necessary or appropriate for an orderly administration of these chapter 11
                             cases;

                 (b)         Maintain an official copy of the Debtors’ schedules of assets and liabilities
                             and statements of financial affairs (collectively, the “Schedules”), listing the
                             Debtors’ known creditors and the amounts owed thereto;

                 (c)         Maintain (i) a list of all potential creditors, equity holders, and other parties-
                             in-interest and (ii) a “core” mailing list consisting of all parties described in
                             Bankruptcy Rule 2002(i), (j), and (k) and those parties that have filed a
                             notice of appearance pursuant to Bankruptcy Rule 9010; update and make
                             said lists available upon request by a party-in-interest or the Clerk;

                 (d)         Furnish a notice to all potential creditors of the last date for filing proofs of
                             claim and a form for filing a proof of claim, after such notice and form are
                             approved by the Court, and notify said potential creditors of the existence,
                             amount, and classification of their respective claims as set forth in the
                             Schedules, which may be effected by inclusion of such information (or the
                             lack thereof, in cases where the Schedules indicate no debt due to the subject
                             party) on a customized proof of claim form provided to potential creditors;

                 (e)         Maintain a post office box or address for the purpose of receiving claims
                             and returned mail, and process all mail received;

                 (f)         Maintain an electronic platform for purposes of filing proofs of claim;

                 (g)         For all notices, motions, orders, or other pleadings or documents served,
                             prepare and file, or cause to be filed with the Clerk, an affidavit or certificate
                             of service within seven business days of service which includes (i) either a
                             copy of the notice served or the docket number(s) and title(s) of the
                             pleading(s) served, (ii) a list of persons to whom it was mailed (in
                             alphabetical order) with their addresses, (iii) the manner of service, and
                             (iv) the date served;

                 (h)         Process all proofs of claim received, including those received by the Clerk,
                             check said processing for accuracy, and maintain the original proofs of
                             claim in a secure area;

                 (i)         Maintain the official claims register for each Debtor (collectively,
                             the “Claims Registers”) on behalf of the Clerk; upon the Clerk’s request,
                             provide the Clerk with certified, duplicate unofficial Claims Registers; and
                             specify in the Claims Registers the following information for each claim
                             docketed: (i) the claim number assigned; (ii) the date received; (iii) the
                             name and address of the claimant and agent, if applicable, who filed the
                             claim; (iv) the amount asserted; (v) the asserted classification(s) of the


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                             claim (e.g., secured, unsecured, priority, etc.); (vi) the applicable Debtor;
                             and (vii) any disposition of the claim;

                 (j)         Provide public access to the Claims Registers, including complete proofs of
                             claim with attachments, if any, without charge;

                 (k)         Implement necessary security measures to ensure the completeness and
                             integrity of the Claims Registers and the safekeeping of the original claims;

                 (l)         Record all transfers of claims and provide any notices of such transfers as
                             required by Bankruptcy Rule 3001(e);

                 (m)         Relocate, by messenger or overnight delivery, all of the court-filed proofs
                             of claim to the offices of Stretto, not less than weekly;

                 (n)         Upon completion of the docketing process for all claims received to date for
                             each case, turn over to the Clerk copies of the Claims Registers for the
                             Clerk’s review (upon the Clerk’s request);

                 (o)         Monitor the Court’s docket for all notices of appearance, address changes,
                             and claims-related pleadings and orders filed and make necessary notations
                             on and/or changes to the claims register and any service or mailing lists,
                             including to identify and eliminate duplicative names and addresses from
                             such lists;

                 (p)         Identify and correct any incomplete or incorrect addresses in any mailing or
                             service lists (to the extent such information available);

                 (q)         Assist in the dissemination of information to the public and respond to
                             requests for administrative information regarding these chapter 11 cases as
                             directed by the Debtors or the Court, including through the use of a case
                             website and/or call center;

                 (r)         If these chapter 11 cases are converted to cases under chapter 7 of the
                             Bankruptcy Code, contact the Clerk’s office within three days of notice to
                             Stretto of entry of the order converting the cases;

                 (s)         Thirty days prior to the close of these chapter 11 cases, to the extent
                             practicable, request that the Debtors submit to the Court a proposed order
                             dismissing Stretto as Claims and Noticing Agent and terminating its
                             services in such capacity upon completion of its duties and responsibilities
                             and upon the closing of these chapter 11 cases;

                 (t)         Within seven days of notice to Stretto of entry of an order closing these
                             chapter 11 cases, provide to the Court the final version of the Claims
                             Registers as of the date immediately before the close of the chapter 11 cases;
                             and



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                 (u)         At the close of these chapter 11 cases, (i) box and transport all original
                             documents, in proper format, as provided by the Clerk’s office, to (A) the
                             Federal Archives Record Administration, or (B) any other location
                             requested by the Clerk’s office, and (ii) docket a completed SF-135 Form
                             indicating the accession and location numbers of the archived claims.

        14.      The Claims Registers shall be open to the public for examination without charge

during regular business hours and on a case-specific website maintained by Stretto.

                                        Professional Compensation

        15.      The Debtors request that the undisputed fees and expenses incurred by Stretto in

the performance of the above services be treated as administrative expenses of the Debtors’ chapter

11 estates pursuant to 28 U.S.C. § 156(c) and section 503(b)(1)(A) of the Bankruptcy Code and be

paid in the ordinary course of business without further application to or order of the Court. Stretto

agrees to maintain records of all services showing dates, categories of services, fees charged, and

expenses incurred, and to serve monthly invoices on the Debtors, the office of the United States

Trustee, counsel for the Debtors, counsel for any official committee monitoring the expenses of

the Debtors, and any party-in-interest who specifically requests service of the monthly invoices.

If any dispute arises relating to the Engagement Agreement or monthly invoices, the parties shall

meet and confer in an attempt to resolve the dispute; if resolution is not achieved, the parties may

seek resolution of the matter from the Court.

        16.      Prior to the Petition Date, the Debtors provided Stretto an advance in the amount

of $25,000. Stretto seeks to first apply the advance to all prepetition invoices, and thereafter, to

have the advance replenished to the original advance amount, and thereafter, to hold the advance

under the Engagement Agreement during these chapter 11 cases as security for the payment of

fees and expenses incurred under the Engagement Agreement.

        17.      Additionally, under the terms of the Engagement Agreement, the Debtors have

agreed to indemnify, defend, and hold harmless Stretto and its members, officers, employees,


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representatives, and agents under certain circumstances specified in the Engagement Agreement,

except in circumstances resulting solely from Stretto’s gross negligence or willful misconduct or

as otherwise provided in the Engagement Agreement or Proposed Order. The Debtors believe that

such an indemnification obligation is customary, reasonable, and necessary to retain the services

of a Claims and Noticing Agent in these chapter 11 cases.

                                               Disinterestedness

        18.      Although the Debtors do not propose to employ Stretto under section 327 of the

Bankruptcy Code pursuant to this application (such retention will be sought by separate

application), Stretto has nonetheless reviewed its electronic database to determine whether it has

any relationships with the creditors and parties in interest provided by the Debtors, and, to the best

of the Debtors’ knowledge, information, and belief, and except as disclosed in the Betance

Declaration, Stretto has represented that it neither holds nor represents any interest materially

adverse to the Debtors’ estates in connection with any matter on which it would be employed.

        19.      Moreover, in connection with its retention as Claims and Noticing Agent, Stretto

represents in the Betance Declaration, among other things, that:

                 (a)         Stretto is not a creditor of the Debtors;

                 (b)         Stretto will not consider itself employed by the United States government
                             and shall not seek any compensation from the United States government in
                             its capacity as the Claims and Noticing Agent in these chapter 11 cases;

                 (c)         By accepting employment in these chapter 11 cases, Stretto waives any
                             rights to receive compensation from the United States government in
                             connection with these chapter 11 cases;

                 (d)         In its capacity as the Claims and Noticing Agent in these chapter 11 cases,
                             Stretto will not be an agent of the United States and will not act on behalf
                             of the United States;

                 (e)         Stretto will not employ any past or present employees of the Debtors in
                             connection with its work as the Claims and Noticing Agent in these chapter
                             11 cases;


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                 (f)         Stretto is a “disinterested person” as that term is defined in section 101(14)
                             of the Bankruptcy Code with respect to the matters upon which it is to be
                             engaged;

                 (g)         In its capacity as Claims and Noticing Agent in these chapter 11 cases,
                             Stretto will not intentionally misrepresent any fact to any person;

                 (h)         Stretto shall be under the supervision and control of the Clerk’s office with
                             respect to the receipt and recordation of claims and claim transfers;

                 (i)         Stretto will comply with all requests of the Clerk’s office and the guidelines
                             promulgated by the Judicial Conference of the United States for the
                             implementation of 28 U.S.C. § 156(c); and

                 (j)         None of the services provided by Stretto as Claims and Noticing Agent in
                             these chapter 11 cases shall be at the expense of the Clerk’s office.

           20.      Stretto will supplement its disclosure to the Court if any facts or circumstances

  are discovered that would require such additional disclosure.

                        Compliance with Claims and Noticing Agent Protocol

        21.      This application complies with the Claims Agent Protocol, in that the Debtors have

obtained and reviewed engagement proposals from at least two other Court-approved claims and

noticing agents to ensure selection through a competitive process. Moreover, the Debtors submit,

based on all engagement proposals obtained and reviewed, that Stretto’s rates are competitive and

reasonable given Stretto’s quality of services and expertise.

        22.      To the extent that there is any inconsistency between this application, the order

granting the relief in the application, and the Engagement Agreement, the order granting relief in

the application shall govern.

                             Waiver of Bankruptcy Rule 6004(a) and 6004(h)

        23.      To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the use,

sale, or lease of property under Bankruptcy Rule 6004(h).



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                                                Notice

        24.      The Debtors have provided notice of this motion to the following parties or their

respective counsel: (a) the U.S. Trustee; (b) the holders of the twenty (20) largest unsecured claims

against the Debtors (on a consolidated basis); (c) the United States Securities and Exchange

Commission; (d) the United States Department of Justice; (e) the office of the attorneys general

for the states in which the Debtors operate; (f) the United States Attorney’s Office for the District

of Delaware; (g) the Internal Revenue Service; (h) Cerberus Off Lease Only LLC; (i) Spirit Realty,

L.P.; (j) Ally Bank; and (k) any party that has requested notice pursuant to Bankruptcy Rule 2002.

As this motion is seeking “first day” relief, within two business days of the hearing on this motion,

the Debtors will serve copies of this motion and any order entered in respect to this motion as

required by Local Rule 9013-1(m). The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be given.

                                          No Prior Request

        25.      No prior request for the relief sought in this application has been made to this or

any other court.

                             [Remainder of page intentionally left blank.]




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                                        CONCLUSION

        WHEREFORE the Debtors respectfully request that the Court enter an order,

substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

such other relief as the Court deems appropriate under the circumstances.

Dated: September 7, 2023                  Respectfully submitted,
       Wilmington, Delaware
                                          /s/ Laura Davis Jones
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                                          Proposed Co-Counsel for the Debtors and Debtors in
                                          Possession

                                          -and-

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                                          -and-




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                                      Proposed Counsel for the Debtors and Debtors in
                                      Possession




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